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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MOHAMMED ANWAR, an individual,                     )
                                                   )
       Plaintiff,                                  )
                                                   )
v.                                                 )                   Case No.   15-cv-3169
                                                   )
MAC’S CONVENIENCE STORES, LLC                      )
d/b/a CIRCLE K;                                    )
                                                   )
       Defendant.                                  )


                             JOINT STIPULATION TO DISMISS

       IT IS HEREBY stipulated and agreed by and between the parties to the above entitled

action, through their respective attorneys, that the parties have settled all claims in the captioned

matter under the terms of a confidential settlement agreement. In accord with the settlement

agreement, the Parties stipulate and agree that said action be dismissed with prejudice, with all

parties bearing their own costs, including attorneys’ fees.



Date: September 14, 2015                      Attorney for Plaintiff

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Date: September 14, 2015               Attorney for Defendant

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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 14, 2015, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system which will send notification of such filing to
the following:

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                                                      /s/ Stacey L. Smiricky
